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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                        CASE NO: 8:05-cr-33-T-26MSS

JAMES DEAN KNIGHT
                                          /

                                         ORDER

         Upon due consideration, it is ordered and adjudged as follows:

         1) The Government’s Motion for Reduction in Sentence Pursuant to Fed. R. Crim.

P. 35(b) (Dkt. 166) is granted.

         2) The sentence of 30 months imposed as to count one is reduced to 18 months.

         3) All other terms and provisions of the Court’s previous judgment (Dkt. 141)

shall remain in full force and effect.

         4) The Clerk is directed to enter an amended judgment in conformity with this

order.

         DONE AND ORDERED at Tampa, Florida, on February 1, 2007.



                                      s/Richard A. Lazzara
                                    RICHARD A. LAZZARA
                                    UNITED STATES DISTRICT JUDGE


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Counsel of Record
